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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


     Symbology Innovations, LLC,

                  Plaintiff,                                 Case No. 2:23-cv-419-JRG


                 v.                                          JURY TRIAL DEMANDED


     Valve Corporation, Gearbox Software,
     LLC,

                  Defendants.


                                  JOINT PROTECTIVE ORDER
         WHEREAS, Symbology Innovations, LLC (“Plaintiff”) and Valve Corporation and

Gearbox Software, LLC (“Defendants”), collectively hereafter referred to as “the Parties,” believe

that certain information that is or will be encompassed by discovery demands by the Parties

involves the production or disclosure of trade secrets, confidential business information, or other

proprietary information;

         WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

Federal Rule of Civil Procedure 26(c):

         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.       Each Party may designate as confidential for protection under this Order, in whole or in part,

         any document, information or material that constitutes or includes, in whole or in part,

         confidential or proprietary information or trade secrets of the Party or a Third Party to whom

         the Party reasonably believes it owes an obligation of confidentiality with respect to such

         document, information or material (“Protected Material”). Protected Material shall be



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      designated by the Party producing it by affixing a legend or stamp on such document,

      information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

      shall be placed clearly on each page of the Protected Material (except deposition and hearing

      transcripts) for which such protection is sought. For deposition and hearing transcripts, the

      word “CONFIDENTIAL” shall be placed on the cover page of the transcript (if not already

      present on the cover page of the transcript when received from the court reporter) by each

      attorney receiving a copy of the transcript after that attorney receives notice of the

      designation of some or all of that transcript as “CONFIDENTIAL.”

2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

      Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes Only”

      shall receive the same treatment as if designated “RESTRICTED - ATTORNEYS’ EYES

      ONLY” under this Order, unless and until such document is redesignated to have a different

      classification under this Order.

3.    With respect to documents, information or material designated “CONFIDENTIAL,”

      “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

      SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein and

      unless otherwise stated, this Order governs, without limitation: (a) all documents,

      electronically stored information, and/or things as defined by the Federal Rules of Civil

      Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits

      or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings




      1
         The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’
EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
collectively.


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      and other court filings; (d) affidavits; and (e) stipulations.      All copies, reproductions,

      extracts, digests and complete or partial summaries prepared from any DESIGNATED

      MATERIALS shall also be considered DESIGNATED MATERIAL and treated as such

      under this Order.

4.    A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

      ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”)

      may be made at any time.          Inadvertent or unintentional production of documents,

      information or material that has not been designated as DESIGNATED MATERIAL shall

      not be deemed a waiver in whole or in part of a claim for confidential treatment. Any party

      that inadvertently or unintentionally produces Protected Material without designating it as

      DESIGNATED MATERIAL may request destruction of that Protected Material by notifying

      the recipient(s), as soon as reasonably possible after the producing Party becomes aware of

      the inadvertent or unintentional disclosure, and providing replacement Protected Material

      that is properly designated. The recipient(s) shall then destroy all copies of the inadvertently

      or unintentionally produced Protected Materials and any documents, information or material

      derived from or based thereon.

5.    “CONFIDENTIAL” documents, information and material may be disclosed only to the

      following persons, except upon receipt of the prior written consent of the designating party,

      upon order of the Court, or as set forth in paragraph 12 herein:

      (a)     outside counsel of record in this Action for the Parties;

      (b)     employees of such o u t s i d e counsel assigned to and reasonably necessary to
              assist such counsel in the litigation of this Action;

      (c)     in-house counsel for the Parties who either have responsibility for making decisions
              dealing directly with the litigation of this Action, or who are assisting outside
              counsel in the litigation of this Action, and the assistants and paralegals thereof;



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      (d)    up to an including three (3) designated representatives of each of the Parties to the
             extent reasonably necessary for the litigation of this Action;

      (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party or
             an affiliate of a Party) retained for the purpose of this litigation, provided that: (1)
             such consultants or experts are not presently employed by the Parties hereto for
             purposes other than this Action; (2) before access is given, the consultant or expert
             has completed the Undertaking attached as Appendix A hereto and the same is
             served upon the producing Party with a current curriculum vitae of the consultant or
             expert at least ten (10) days before access to the Protected Material is to be given
             to that consultant or expert, allowing the producing party to object to and notify the
             receiving Party in writing that it objects to disclosure of Protected Material to the
             consultant or expert. The Parties agree to promptly confer and use good faith to
             resolve any such objection. If the Parties are unable to resolve any objection, the
             objecting Party may file a motion with the Court within fifteen (15) days of the
             notice, or within such other time as the Parties may agree, seeking a protective order
             with respect to the proposed disclosure. The objecting Party shall have the burden of
             proving the need for a protective order. No disclosure shall occur until all such
             objections are resolved by agreement or Court order;

      (f)    independent litigation support services, including persons working for or as court
             reporters, graphics or design services, jury or trial consulting services, and
             photocopy, document imaging, and database services retained by counsel and
             reasonably necessary to assist counsel with the litigation of this Action, provided
             that before access is given to graphics or design services, jury or trial consulting
             services, and photocopy, document imaging, and database services retained by
             counsel, such individuals have completed the Undertaking attached as Appendix
             A hereto.

      (g)    the Court and its personnel.

6.    A Party shall designate documents, information or material as “CONFIDENTIAL” only

      upon a good faith belief that the documents, information or material contains confidential

      or proprietary information or trade secrets of the Party or a Third Party to whom the Party

      reasonably believes it owes an obligation of confidentiality with respect to such documents,

      information or material.

7.    Documents, information or material produced pursuant to any discovery request in this

      Action, including but not limited to Protected Material designated as DESIGNATED




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      MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

      be used for any other purpose. Any person or entity who obtains access to DESIGNATED

      MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

      duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

      portion thereof except as may be reasonably necessary in the litigation of this Action. Any

      such copies, duplicates, extracts, summaries or descriptions shall be classified

      DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.    To the extent a producing Party believes that certain Protected Material qualifying to be

      designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

      limitation, the producing Party may designate such Protected Material “RESTRICTED --

      ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

      source code and/or live data (that is, data as it exists residing in a database or databases)

      (“Source Code Material”), the producing Party may designate such Protected Material as

      “RESTRICTED CONFIDENTIAL SOURCE CODE.”

9.    For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY, access

      to, and disclosure of, such Protected Material shall be limited to individuals listed in

      paragraphs 5(a-b) and (e-g).

10.   For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE,

      the following additional restrictions apply:

      (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
             computer(s) (that is, the computer may not be linked to any network, including a
             local area network (“LAN”), an intranet or the Internet). The receiving Party shall
             provide at least ten (10) business days’ notice for the receiving Party’s first request
             to access Source Code Material, and three (3) business days’ notice for subsequent
             requests to access such Material. Any requests for printouts of Source Code
             Material will be formatted using Adobe by the Receiving Party and placed in dated
             folders on the computer for collection and production by the producing Party



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               within five (5) business days of each review. The Receiving Party shall not request
               printouts for the purposes of reviewing the source code, in lieu of reviewing the
               source code computer, in the first instance. Additionally, the stand-alone
               computer(s) may only be located at the offices of the producing Party’s outside
               counsel or its vendors;

       (b)     The receiving Party shall make reasonable efforts to restrict its requests for such
               access to the stand-alone computer(s) to normal business hours, which for purposes
               of this paragraph shall be 9:00 a.m. through 5:00 p.m. However, upon reasonable
               notice from the receiving party, the producing Party shall make reasonable efforts to
               accommodate the receiving Party’s request for access to the stand-alone computer(s)
               outside of normal business hours. The Parties agree to cooperate in good faith such
               that maintaining the producing Party’s Source Code Material at the offices of its
               outside counsel shall not unreasonably hinder the receiving Party’s ability to
               efficiently and effectively conduct the prosecution or defense of this Action;

       (c)     The producing Party shall provide the receiving Party with information explaining
               how to start, log on to, and operate the stand-alone computer(s) in order to access the
               produced Source Code Material on the stand-alone computer(s);

       (d)     The producing Party will produce Source Code Material in computer searchable
               format on the stand-alone computer(s) as described above;

       (e)     Access to Protected Material designated RESTRICTED CONFIDENTIAL -
               SOURCE CODE shall be limited to outside counsel and up to two (2) outside
               consultants or experts2 (i.e., not existing employees or affiliates of a Party or an
               affiliate of a Party) retained for the purpose of this litigation and approved to access
               such Protected Materials pursuant to paragraph 5(e) above. A receiving Party may
               include excerpts of Source Code Material in a pleading, exhibit, expert report,
               discovery document, deposition transcript, other Court document, provided that the
               Source Code Documents are appropriately marked under this Order, restricted to
               those who are entitled to have access to them as specified herein, and, if filed with
               the Court, filed under seal in accordance with the Court’s rules, procedures and
               orders;

       (f)     To the extent portions of Source Code Material are quoted in a Source Code
               Document, either (1) the entire Source Code Document will be stamped and treated
               as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages containing
               quoted Source Code Material will be separately stamped and treated as
               RESTRICTED CONFIDENTIAL SOURCE CODE;

       2
         For the purposes of this paragraph, an outside consultant or expert is defined to include
the outside consultant’s or expert’s direct reports and other support personnel, such that the
disclosure to a consultant or expert who employs others within his or her firm to help in his or her
analysis shall count as a disclosure to a single consultant or expert.


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      (g)      No electronic copies of Source Code Material shall be made without prior written
               consent of the producing Party, except as necessary to create documents which,
               pursuant to the Court’s rules, procedures and order, must be filed or served
               electronically;

            (h) The receiving Party shall be permitted to make a reasonable number of printouts and
                photocopies of Source Code Material, all of which shall be designated and clearly
                labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the receiving
                Party shall maintain a log of all such files that are printed or photocopied.

      (i)      Should such printouts or photocopies be transferred back to electronic media, such
               media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and
               shall continue to be treated as such;

      (j)      If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a
               secured locked area in the offices of such outside counsel, consultants, or expert.
               The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
               Court for any proceedings(s) relating to the Source Code Material, for the dates
               associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
               the Source Code Material are taken, for the dates associated with the deposition(s);
               and (iii) any intermediate location reasonably necessary to transport the printouts or
               photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

      (k)      A producing Party’s Source Code Material may only be transported by the receiving
               Party at the direction of a person authorized under paragraph 10(e) above to another
               person authorized under paragraph 10(e) above, on paper via hand carry, Federal
               Express or other similarly reliable courier. Source Code Material may not be
               transported or transmitted electronically over a network of any kind, including a
               LAN, an intranet, or the Internet.

11.   Any attorney representing a Plaintiff, whether in-house or outside counsel, and any

      person associated with a Plaintiff and permitted to receive the Defendant’s Protected

      Material that is designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or

      RESTRICTED CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE

      MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

      part, Defendant’s HIGHLY SENSITIVE MATERIAL under this Order shall not prepare,




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      prosecute, supervise, or assist in the preparation or prosecution of any patent application

      pertaining to the field of the invention of the patents-in-suit on behalf of Plaintiff or its

      acquirer, successor, predecessor, or other affiliate during the pendency of this Action and for

      one year after its conclusion, including any appeals. To ensure compliance with the purpose

      of this provision, Plaintiff shall create an “Ethical Wall” between those persons with access

      to HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of Plaintiff or

      its acquirer, successor, predecessor, or other affiliate, prepare, prosecute, supervise or assist

      in the preparation or prosecution of any patent application pertaining to the field of invention

      of the patent-in-suit.

12.   Nothing in this Order shall require production of documents, information or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information or

      other material subject to a claim of attorney-client privilege, work product doctrine, or other

      privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

      production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

      any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

      produces documents, information or other material it reasonably believes are protected under

      the attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity

      may obtain the return of such documents, information or other material by promptly

      notifying the recipient(s) and providing a privilege log for the inadvertently or

      unintentionally produced documents, information or other material. The recipient(s) shall

      gather and return all copies of such documents, information or other material to the

      producing Party, except for any pages containing privileged or otherwise protected markings




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      by the recipient(s), which pages shall instead be destroyed and certified as such to the

      producing Party.

13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information and

      material to protect against disclosure to any unauthorized persons or entities.

14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

      the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

      access to the DESIGNATED MATERIAL by virtue of his or her employment with the

      designating party, (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

      or copy recipient of such information, (iii) although not identified as an author, addressee,

      or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

      business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director

      or employee of the producing Party or a current or former officer, director or employee of

      a company affiliated with the producing Party; (v) counsel for a Party, including outside

      counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

      contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

      reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

      access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be disclosed

      to any other persons unless prior authorization is obtained from counsel representing the

      producing Party or from the Court.

15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a




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       deposition or hearing transcript, designate the deposition or hearing transcript or any portion

       thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,” or

       “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to the

       deposition or hearing transcript so designated shall be limited in accordance with the terms

       of this Order.   Until expiration of the 30-day period, the entire deposition or hearing

       transcript shall be treated as confidential.

 16.   The existence of this Protective Order must be disclosed to any person producing

       documents, tangible things, or testimony in this action who may reasonably be expected

       to desire confidential treatment for such documents, tangible things, or testimony. Any

       such person or any Party may designate documents, tangible things, or testimony

       confidential pursuant to this Protective Order.

 17.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

       shall remain under seal until further order of the Court. The filing party shall be responsible

       for informing the Clerk of the Court that the filing should be sealed and for placing the

       legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

       caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

       the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

       or an exhibit thereto, discloses or relies on confidential documents, information or material,

       such confidential portions shall be redacted to the extent necessary and the pleading or

       exhibit filed publicly with the Court.

 18.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

       this Action, or from using any information contained in DESIGNATED MATERIAL at




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       the trial of this Action, subject to any pretrial order issued by this Court.

 19.   A Party may request in writing to the other Party that the designation given to any

       DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

       agree to redesignation within ten (10) days of receipt of the written request, the requesting

       Party may apply to the Court for relief. Until any dispute under this paragraph is ruled

       upon by the Court, the designation will remain in full force and effect, and the information

       will continue to be accorded the confidential treatment required by this Protective Order.

       Upon any such application to the Court, the burden shall be on the designating Party to

       show why its classification is proper. Such application shall be treated procedurally as a

       motion to compel pursuant to Federal Rules of Civil Procedure 37, subject to the Rule’s

       provisions relating to sanctions.    In making such application, the requirements of the

       Federal Rules of Civil Procedure and the Local Rules of the Court shall be met. Pending

       the Court’s determination of the application, the designation of the designating Party shall

       be maintained.

 20.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

       accordance with the terms of this Order shall be advised by counsel of the terms of this

       Order, shall be informed that he or she is subject to the terms and conditions of this Order,

       and shall sign an acknowledgment that he or she has received a copy of, has read, and has

       agreed to be bound by this Order. A copy of the acknowledgment form is attached as

       Appendix A.

 21.   To the extent that any discovery is taken of persons who are not Parties to this Action

       (“Third Parties”) and in the event that such Third Parties contended the discovery sought

       involves trade secrets, confidential business information, or other proprietary information,




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       then such Third Parties may agree to be bound by this Order.

 22.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY”

       any documents, information or other material, in whole or in part, produced or given by

       such Third Parties. The Third Parties shall have ten (10) days after production of such

       documents, information or other materials to make such a designation. Until that time

       period lapses or until such a designation has been made, whichever occurs sooner, all

       documents, information or other material so produced or given shall be treated as

       “CONFIDENTIAL” in accordance with this Order.

 23.   Within sixty (60) days of final termination of this Action, including any appeals, all

       DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

       descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

       into any privileged memoranda of the Parties and materials which have been admitted into

       evidence in this Action), shall at the producing Party’s election either be returned to the

       producing Party or be destroyed, except that each counsel of record may maintain one

       archive copy of all pleadings, correspondence, expert reports, deposition transcripts,

       deposition exhibits, trial transcripts, and trial exhibits, together with any attorney work

       product, provided that any such archive copy remains appropriately marked and stored in

       accordance with the provisions of this Order. The receiving Party shall verify the return

       or destruction by affidavit furnished to the producing Party, upon the producing Party’s

       request.

 24.   The failure to designate documents, information or material in accordance with this Order

       and the failure to object to a designation at a given time shall not preclude the filing of a




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       motion at a later date seeking to impose such designation or challenging the propriety

       thereof. The entry of this Order and/or the production of documents, information and

       material hereunder shall in no way constitute a waiver of any objection to the furnishing

       thereof, all such objections being hereby preserved.

 25.   Any Party knowing or believing that any other party is in violation of or intends to violate

       this Order and has raised the question of violation or potential violation with the opposing

       party and has been unable to resolve the matter by agreement may move the Court for such

       relief as may be appropriate in the circumstances. Pending disposition of the motion by the

       Court, the Party alleged to be in violation of or intending to violate this Order shall

       discontinue the performance of and/or shall not undertake the further performance of any

       action alleged to constitute a violation of this Order.

 26.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

       publication of the documents, information and material (or the contents thereof) produced

       so as to void or make voidable whatever claim the Parties may have as to the proprietary and

       confidential nature of the documents, information or other material or its contents.

 27.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

       kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

 28.   By entering this Protective Order and limiting the disclosure of information in this case,

       the presiding judge does not intend to preclude another court from finding that information

       may be relevant and subject to disclosure in another case. Any person or party subject to

       this Protective Order who may be subject to a motion to disclose another party’s

       DESIGNATED MATERIAL pursuant to this Protective Order must promptly notify that

       party of the motion so that the party may have an opportunity to appear and be heard on




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       whether that information should be disclosed.

 29.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

       Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

       if reasonably necessary to prepare and present this Action and (b) to apply for additional

       protection of DESIGNATED MATERIAL.




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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


      Symbology Innovations, LLC,

                  Plaintiff,                                   Case No. 2:23-cv-277


                  v.                                           JURY TRIAL DEMANDED


      Valve Corporation, Gearbox Software,
      LLC,

                  Defendants.



                                APPENDIX A
             UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                            PROTECTIVE ORDER
          I, ___________________________________________, declare that:

 1.       My address is _________________________________________________________.

          My current employer is _________________________________________________.

          My current occupation is ________________________________________________.

 2.       I have received a copy of the Protective Order in this action. I have carefully read and

          understand the provisions of the Protective Order.

 3.       I will comply with all of the provisions of the Protective Order. I will hold in confidence,

          will not disclose to anyone not qualified under the Protective Order, and will use only for

          purposes of this action any information designated as “CONFIDENTIAL,”

          “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

          SOURCE CODE” that is disclosed to me.

 4.       Promptly upon termination of these actions, I will return all documents and things



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       designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES ONLY,”

       or “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession,

       and all documents and things that I have prepared relating thereto, to the outside counsel

       for the party by whom I am employed.

 5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

       I declare under penalty of perjury that the foregoing is true and correct.

 Signature ________________________________________

 Date ____________________________________________




                                                 2
